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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                      )
UNITED TO PROTECT DEMOCRACY et al.                    )
                                                      )
                      Plaintiffs,                     )
                                                      )
       v.                                             )        Civil No. 17-02016 (RC)
                                                      )
                                                      )
PRESIDENTIAL ADVISORY COMMISSION                      )
ON ELECTION INTEGRITY et al.                          )
                                                      )
                                                      )
                      Defendants.                     )
                                                      )


      NOTICE OF DECLARATION IN DUNLAP V. PRESIDENTIAL ADVISORY
                       COMMISSION ON ELECTION INTEGRITY

       On January 3, 2018, Defendant Presidential Advisory Commission on Election Integrity

(“Commission”) filed the Second Declaration of Charles C. Herndon, Director of White House

Information Technology and Deputy Assistant to the President, in Dunlap v. Presidential

Advisory Commission on Election Integrity, No. 17-cv-02361 (D.D.C.), Jan. 9, 2018, ECF No.

39-2 (attached as Exhibit A).   In reliance upon statements made in that Declaration that the

White House intends to destroy state voter data collected by the Commission, and in reliance

upon Defendants’ Notice of Executive Order, Jan. 3, 2018, ECF No. 34, Plaintiffs do not intend

to file an amended complaint in the above captioned case as permitted by this Court in its

December 29, 2017 Memorandum Opinion.         Mem. Op. at 27, ECF No. 33.




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                                     Respectfully submitted,


Date: January 16, 2018



                                     /s/ Danielle Conley_______________
Laurence M. Schwartztol              Danielle Conley (D.C. Bar #503345)
  (D.C. Bar # MA0007)                Lynn Eisenberg (D.C. Bar #1017511)
Justin Florence (D.C. Bar #988953)   Jason Hirsch (Pro hac vice forthcoming)
THE PROTECT DEMOCRACY PROJECT        Michael Posada (Pro hac vice)
10 Ware Street                       WILMER CUTLER PICKERING
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                                CERTIFICATE OF SERVICE

        I hereby certify that, on this 16th day of January, 2018, a true and correct copy of the
foregoing Response to the Notice of Recent Decision has been served on the following parties
via electronic means:

               Presidential Advisory Commission on Election Integrity
               1650 Pennsylvania Avenue NW
               Eisenhower Executive Office Building
               Rm. 268
               Washington, D.C. 20504

               The Office of Management and Budget
               725 17th Street NW
               Washington, D.C. 20503

               Mick Mulvaney, in his official capacity
               The Office of Management and Budget
               725 17th Street NW
               Washington, D.C. 20503




                                                     /s/ Danielle Conley
                                                     Danielle Conley (D.C. Bar #503345)
                                                     WILMER CUTLER PICKERING
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